    Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 1 of 11 PageID #:52




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            WESTERN DIVISION

 UNITED STATES OF AMERICA
                                             No. 22 CR 50017
              v.
                                             Lisa A. Jensen
 CHRISTOPHER PIERCE                          MAGISTRATE JUDGE


           AGREED PROTECTIVE ORDER GOVERNING DISCOVERY

      Upon the agreed motion of the government, pursuant to Fed. R. Crim. P. 16(d),

it is hereby ORDERED:

      1.     All of the materials provided by the United States in preparation for, or

in connection with, any stage of the proceedings in this case (collectively, “The

Materials”) are subject to this protective order and may be, subject to the restrictions

provided in this order, used by defendant and defendant’s counsel (defined as counsel

of record in this case) solely in connection with the defense of this case, and for no

other purpose, and in connection with no other proceeding, without further order of

this Court. Furthermore, additional provisions of this Order provide for the

application of and restrictions accompanying the designation by the government of

some of The Materials as “Confidential – Defendant May View But Not Possess”

(hereafter “Confidential Materials”), or “Attorneys’ Eyes Only” (hereafter

“Attorneys’ Eyes Only Materials”). The Materials without the “Confidential –

Defendant May View But Not Possess” or “Attorneys Eyes Only” designation are

hereafter designated as “General Discovery Materials.” In addition to being subject

to the restrictions imposed upon The Materials (which encompass General Discovery
    Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 2 of 11 PageID #:53




Materials, Confidential Materials, and Attorneys’ Eyes Only Materials) as provided

for in this order, the Confidential Materials and Attorneys’ Only Materials are subject

to the heightened restrictions provided for in this order.

                                   The Materials

      2.     Defendant and defendant’s counsel shall not disclose The Materials or

their contents directly or indirectly to any person or entity other than persons

employed to assist in the defense, persons who are interviewed as potential witnesses,

counsel for potential witnesses, and other persons to whom the Court may authorize

disclosure (collectively, “authorized persons”). Potential witnesses and their counsel

may be shown copies of The Materials as necessary to prepare the defense, but may

not retain copies without prior permission of the Court.

      3.     Defendant, defendant’s counsel, and authorized persons shall not copy

or reproduce The Materials except in order to provide copies of The Materials for use

in connection with this case by defendant, defendant’s counsel, and authorized

persons. Such copies and reproductions shall be treated in the same manner as the

original materials.

      4.     Defendant, defendant’s counsel, and authorized persons shall not

disclose any notes or records of any kind that they make in relation to the contents of

The Materials, other than to authorized persons, and all such notes or records are to

be treated in the same manner as the original materials.




                                           2
    Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 3 of 11 PageID #:54




      5.     Before providing The Materials to an authorized person, defendant’s

counsel must provide the authorized person with a copy of this Order.

      6.     Upon conclusion of all stages of this case, all of The Materials and all

copies made thereof shall be disposed of in one of three ways, unless otherwise

ordered by the Court. The Materials may be (1) destroyed; (2) returned to the United

States; or (3) retained in defendant’s counsel's case file. The Court may require a

certification as to the disposition of any such materials. In the event that The

Materials are retained by defendant’s counsel, the restrictions of this Order continue

in effect for as long as The Materials are so maintained, and The Materials may not

be disseminated or used in connection with any other matter without further order of

the Court.

      7.     To the extent any material is produced by the United States to

defendant or defendant’s counsel by mistake, the United States shall have the right

to request the return of the material and shall do so in writing. Within five days of

the receipt of such a request, defendant and/or defendant’s counsel shall return all

such material if in hard copy, and in the case of electronic materials, shall certify in

writing that all copies of the specified material have been deleted from any location

in which the material was stored.

                              Confidential Materials

      8.     In addition to the restrictions discussed above and applicable to The

Materials, some of The Materials may also be designated by the United States as


                                           3
    Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 4 of 11 PageID #:55




“Confidential – Defendant May View But Not Possess.” The Materials designated as

“Confidential – Defendant May View But Not Possess” are subject to the restrictions

applicable to The Materials and to heightened restrictions in accordance with this

order. However, the Confidential Materials are not subject to the heightened

restrictions applicable to the Attorneys’ Eyes Only Materials.

      9.     The government shall plainly mark the Confidential Materials as

“CONFIDENTIAL – DEFENDANT MAY VIEW BUT NOT POSSESS” prior to

disclosure. If the Confidential Materials are produced in electronic format, the

government shall segregate Confidential Materials from other discovery materials to

the extent possible.

      10.    The heightened restrictions applicable to Confidential Materials shall

apply to: 1) defendant and defendant’s counsel, and 2) authorized persons.

      11.     Confidential Materials may be viewed, but not retained, by the

defendant.

      12.    The government may designate and disclose as Confidential Materials:

1) non-privileged communications of the defendant; 2) communications between the

Department of Justice, the Federal Bureau of Investigation, and the Federal Bureau

of Prisons; 3) materials containing information exempted from disclosure under the

Freedom of Information Act; 4) materials disclosing sensitive, internal law

enforcement operations or techniques; 5) materials containing information subject to

the Health Insurance Portability and Accountability Act (“HIPPA”); 6) materials


                                          4
    Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 5 of 11 PageID #:56




disclosing the Bureau of Prisons’ sensitive deliberative process; 7) materials

disclosing institutional adjustments of inmates; and 8) information protected by the

Privacy Act of 1974.

      13.    This Order’s heightened restrictions for Confidential Materials are not

intended to interfere with or prevent defendant’s counsel from building general

institutional knowledge in preparation of the defense.

                         Attorneys’ Eyes Only Materials

      14.    In addition to the restrictions discussed above and applicable to The

Materials, some of The Materials may also be designated by the United States as

“Attorneys’ Eyes Only.” The Materials designated as “Attorneys’ Eyes Only” are

subject to the restrictions applicable to The Materials and to heightened restrictions

in accordance with this order. However, the Attorneys’ Eyes Only Materials are not

subject to the heightened restrictions applicable to the Confidential Materials.

      15.    The government may designate and disclose as Attorneys’ Eyes Only

Materials: 1) materials disclosing internal operations of the Federal Bureau of

Prisons, [here, the United States Penitentiary in Thomson, Illinois (“USP Thomson”)]

relating to institutional security and/or safety; 2) specific information provided by a

witnesses(es) that if disclosed to the defendant could threaten the safety and

wellbeing of the witness(es) and/or the Federal Bureau of Prisons facility that houses

the witness(es) if such witness(es) is an inmate; and 3) other materials that if




                                          5
    Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 6 of 11 PageID #:57




disclosed to the defendant could jeopardize the institutional security and/or safety of

any Federal Bureau of Prisons facility and/or personnel.

      16.    The government shall plainly mark the Attorneys’ Eyes Only Materials

as “ATTORNEYS’ EYES ONLY” prior to disclosure. If the Attorneys’ Eyes Only

Materials are produced in electronic format, the government shall segregate

Attorneys’ Eyes Only Materials from other discovery materials to the extent possible.

      17.    Neither the Attorneys’ Eyes Only Materials nor the information

contained therein may be disclosed by defendant’s counsel directly or indirectly to the

defendant. Attorneys’ Eyes Only Materials may be disclosed to persons or entities

employed to assist in the defense of the defendant, but defendant’s counsel must

provide such persons and entities a copy of this Order in advance of receipt of

Attorneys’ Eyes Only Materials and such persons and entities are subject to the

restrictions of this Order placed upon the Attorneys’ Eyes Only Materials and in the

same manner as if they were defendant’s counsel, excluding that they are not

authorized to further disclose Attorneys’ Eyes Only Materials. Disclosures by

defendant’s counsel of Attorneys’ Eyes Only Materials beyond these are not

authorized without prior notice to the government and authorization from the Court.

                        General Heightened Restrictions

      18.    Copied or reproduced Confidential Materials and Attorneys’ Eyes Only

Materials must retain the “CONFIDENTIAL – DEFENDANT MAY VIEW BUT NOT

POSSESS” or “ATTORNEYS’ EYES ONLY” watermark, header or footer,


                                          6
    Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 7 of 11 PageID #:58




respectively. Such copies and reproductions shall be treated in the same manner as

the original materials.

      19.    Notes or records of any kind made in relation to the contents of the

Confidential Materials or Attorneys’ Eyes Only Materials by defendant, defendant’s

counsel, or authorized persons, are to be treated in the same manner as the original

materials.

      20.    At least three business days before publicly filing any Confidential

Materials or Attorneys’ Eyes Only Materials, or quoting from or summarizing the

contents of the Confidential Materials or Attorneys’ Eyes Only Materials in a public

filing, the defense will provide notice to the assigned Assistant United States

Attorney(s) to allow the United States to seek redactions of such materials or request

that such materials be filed under seal. This provision does not prevent the defense

from filing Confidential Materials or Attorneys’ Eyes Only Materials under seal or

quoting from or summarizing the contents of the Confidential Materials or Attorneys’

Eyes Only Materials in a submission made under seal.

      21.    Confidential Materials and Attorneys’ Eyes Only Materials filed in

pretrial proceedings must be submitted with all original Confidential Materials or

Attorneys Eyes Only Materials watermarks, headers and footers.

      22.    A party may object to the designation of any of The Materials as

Confidential Materials or Attorneys’ Eyes Only Materials.




                                          7
    Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 8 of 11 PageID #:59




             a.     Upon an objection, the government and defendant’s counsel shall

first confer with each other regarding the objection, and discuss the potential

redesignation of some or all of such materials as General Discovery Materials (The

Materials that are not Confidential Materials or Attorneys’ Eyes Only Materials).

             b.     If, after conferring, the government and defendant’s counsel reach

an agreement as to the appropriate designation of certain materials, such agreement

shall be memorialized in writing, and the government shall then reproduce such

materials or a portion of such materials at issue without the “CONFIDENTIAL –

DEFENDANT MAY VIEW BUT NOT POSSESS” or “ATTORNEYS’ EYES ONLY”

markings. The re-designation of any such Confidential Materials or Attorneys’ Eyes

Only Materials will also result in the re-designation of any copies or reproductions of

such materials, as well as any such notes or records of any kind made in relation to

the contents of such re-designated materials.

             c.     If, after conferring, the government and defendant’s counsel

cannot reach an agreement as to the appropriate designation of certain materials,

any objection to the designation of such materials shall be filed within the deadline

for filing of pretrial motions, or no later than 10 days after receipt of discovery

tendered after the motions filing deadline. Confidential Materials and Attorneys’

Eyes Only Materials subject to objection shall be filed under seal, consistent with the

provisions of this Order.




                                          8
    Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 9 of 11 PageID #:60




      23.    The restrictions set forth in this Order do not apply to materials that

are or become part of the public court record, including materials that have been

received in evidence at other trials, nor do the restrictions in this Order limit

defendant’s counsel in the use of discovery materials in judicial proceedings in this

case, except as set forth in paragraph 19 of this Order.

      24.    Watermarks, headers, footers, and other indicia identifying material as

“CONFIDENTIAL – DEFENDANT MAY VIEW BUT NOT POSSESS” or

“ATTORNEYS’ EYES ONLY” must be removed from any trial exhibit before the

exhibit is tendered to a witness and/or disclosed to a jury, and the government will

cooperate with the defendant in the removal process prior to trial. Upon conclusion

of the proceedings before this Court, all exhibits subject to the heightened restrictions

of this Order applied to the Confidential Materials or Attorneys’ Eyes Only Materials,

shall be returned to the government and preserved as modified under this provision

for the record on appeal.

      25.    Upon conclusion of all stages of this case, the Confidential Materials and

Attorneys’ Eyes Only Materials and all copies, notes, or records thereof shall be

disposed of in accordance with paragraph 6 of this Order. The Court may require a

certification as to the disposition of such Confidential Materials or Attorneys’ Eyes

Only Materials. In the event that the Confidential Materials or Attorneys’ Eyes Only

Materials are retained by defendant’s counsel, the restrictions of this Order continue

in effect for as long as the Confidential Materials or Attorneys’ Eyes Only Materials


                                           9
   Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 10 of 11 PageID #:61




are so maintained. However, defendant’s counsel may retain only a single electronic

copy of the Confidential Materials, and the digital file shall retain any original marks

of “CONFIDENTIAL – DEFENDANT MAY VIEW BUT NOT POSSESS” designated

as subject to a protective order and maintained with this Order. The Confidential

Materials and Attorneys’ Eyes Only Materials maintained by defendant’s counsel

must be clearly marked as such in counsel’s files, and the Confidential Materials and

Attorneys’ Eyes Only Materials may not be disseminated or used in connection with

any other matter without further order of the Court.



                              [Continued on next page.]




                                          10
   Case: 3:22-cr-50017 Document #: 25 Filed: 06/24/22 Page 11 of 11 PageID #:62




        26.   This Protective Order may be modified by the Court at any time for good

cause shown following notice to all parties and an opportunity for them to be heard,

and nothing contained in this Order shall ultimately preclude any party from

applying to this Court for further relief or for modification of any provision hereof.

                                        ENTER:


                                        LISA A. JENSEN
                                        Magistrate Judge
                                        United States District Court
                                        Northern District of Illinois

Date:     6/24/2022


Agreed and Jointly submitted by:

/s/ Robert M. Fagan                                   June 23, 2022
ROBERT M. FAGAN                                       DATE
Attorney for Christopher Pierce

/s/ Michael Beckman                                   June 23, 2022
MICHAEL BECKMAN                                       DATE
Assistant United States Attorney




                                          11
